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                         Exhibit A
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     JOSEPH L GALIMIDI VS SANOFI US SERVICES INC. ET AL
     Local Case Number: 2019-027190-CA-01
     Filing Date: 09/13/2019
     State Case Number: 132019CA027190000001
     Case Type: Product Liability
     Consolidated Case No.: N/A
     Judicial Section: CA05
     Case Status: OPEN



       Parties                                                                     Number of Parties: 5   −

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       Party Description Party Name                            Attorney Information                   Other Attorney(s)

       Plaintiff                Galimidi, Joseph L             B#: (Bar Number)91210
                                                               N: (Attorney Name)Rodal, Yechezkel

       Defendant                Sanofi US Services Inc.

       Defendant                Sanofi-Aventis U.S. LLC

       Defendant                Sanofi S.A.

       Defendant                Publix Supermarkets, Inc.




       Hearing Details                                                                           Number of Hearing: 0    −


         No hearing information found




       Dockets                                                                                   Dockets Retrieved: 14   −

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                                                               Docket        Event
                   Number      Date                Book/Page   Entry         Type      Comments

                  11          10/10/2019                      Stipulation   Event     FOR ENLARGEMENT OF TIME

                               09/19/2019                      20 Day        Service
                                                               Summons
                                                               Issued

                  10          09/19/2019                      ESummons      Event     Parties: Sanofi-Aventis U.S. LLC
                                                               20 Day
                                                               Issued

                               09/19/2019                      20 Day        Service
                                                               Summons
                                                               Issued

                  9           09/19/2019                      ESummons      Event     Parties: Sanofi US Services Inc.
                                                               20 Day
                                                               Issued


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                                                               Docket       Event
                 Number        Date                Book/Page   Entry        Type      Comments

                               09/19/2019                      20 Day       Service
                                                               Summons
                                                               Issued

                8             09/19/2019                      ESummons     Event     Parties: Publix Supermarkets Inc.
                                                               20 Day
                                                               Issued

                 7             09/19/2019                      Receipt:     Event     RECEIPT#:3480142 AMT
                                                                                      PAID:$30.00 NAME:RODAL,
                                                                                      YECHEZKEL RODAL LAW P.A.
                                                                                      5300 NW 33RD AVE. SUITE 219
                                                                                      FT LAUDERDALE FL 33309
                                                                                      COMMENT: ALLOCATION CODE
                                                                                      QUANTITY UNIT AMOUNT 3139-
                                                                                      SUMMONS ISSUE FEE 1 $10.00
                                                                                      $10.00 3139-SUMMONS ISSUE
                                                                                      FEE 1 $

                6             09/17/2019                      (M) 20 Day   Event
                                                               (C)
                                                               Summons
                                                               (Sub)
                                                               Received

                5             09/17/2019                      (M) 20 Day   Event
                                                               (C)
                                                               Summons
                                                               (Sub)
                                                               Received

                4             09/17/2019                      (M) 20 Day   Event
                                                               (C)
                                                               Summons
                                                               (Sub)
                                                               Received




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       Case                                        OCS
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                                                                 Docket         Event
                 Number        Date                Book/Page     Entry          Type       Comments

                 3             09/17/2019                        Receipt:       Event      RECEIPT#:3550343 AMT
                                                                                           PAID:$401.00 NAME:RODAL,
                                                                                           YECHEZKEL RODAL LAW P.A.
                                                                                           5300 NW 33RD AVE. SUITE 219
                                                                                           FT LAUDERDALE FL 33309
                                                                                           COMMENT: ALLOCATION CODE
                                                                                           QUANTITY UNIT AMOUNT 3100-
                                                                                           CIRCUIT FILING FEE 1 $401.00
                                                                                           $401.00 TENDER TYPE:E-
                                                                                           FILING ACH

                2             09/13/2019                        Complaint      Event


                1             09/13/2019                        Civil Cover    Event




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